             Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 1 of 13



                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

    In re:                                                      §             Case No. 18-34658
                                                                §
    HOU-TEX BUILDERS, LLC, et al.,1                             §             Chapter 11
                                                                §
                       DEBTORS.                                 §             Jointly Administered
                                                                §

                             MOTION TO COMPEL CD HOMES LLC’S
                        AND ROBERT PARKER’S RESPONSES TO DISCOVERY
                                   [Relates to ECF Nos. 179, 207]

             THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.
             IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
             THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
             MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
             SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
             YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
             YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT
             BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF
             MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
             OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
             YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
             OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
             HEARING AND MAY DECIDE THE MOTION AT THE HEARING

             REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE JEFFREY P. NORMAN, UNITED STATES BANKRUPTCY JUDGE:

             HOUTEX Builders, LLC; 2003 Looscan Lane, LLC; and 415 Shadywood, LLC (collectively,

the “Debtors”) file this motion (the “Motion”) to compel CD Homes, LLC’s and Robert Parker’s

responses to discovery and would respectfully state as follows:




1            The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC
             (7627).


MOTION TO COMPEL                                                                                               Page 1 of 8
       Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 2 of 13



                                         JURISDICTION

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This Motion

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory bases for the relief requested herein are Rule 2004, 7037, and 9014 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                      FACTUAL AND PROCEDURAL BACKGROUND

       4.      On August 23, 2018 (“Petition Date”), the Debtors filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code thereby commencing the Chapter 11 Cases.

       5.      Prior to the Petition Date, the Debtors operated as special-purpose entities established

for the purpose of constructing new houses.

       A.      Debtors’ Attempts to Obtain Documents from CD Homes, LLC.

       6.      The Debtors noticed a Rule 2004 examination of CD Homes, LLC on November 8,

2018. ECF No. 131 (the “Original Notice”). The Original Notice included a subpoena duces tecum

with fifteen document requests seeking information about, among other things, potential transfers

from the Debtors to CD Homes.

       7.      CD Homes filed a Motion to Quash the Original Notice on November 19, 2018. ECF

No. 145.

       8.      The Debtors filed an Amended Notice of Rule 2004 Examination of CD Homes, LLC

on November 21, 2018. ECF No. 146 (the “Amended Notice”).

       9.      CD Homes then filed a second Motion to Quash, interposing various objections to

both the original and supplemental document requests. ECF No. 172.




MOTION TO COMPEL                                                                           Page 2 of 8
       Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 3 of 13



       B.         Court Orders CD Homes to Produce Documents.

       10.        On December 11, 2018, the Court denied in part both of CD Homes’s motions to

quash and overruled all of CD Homes’s objections except with respect to a request for a document

requests concerning CD Homes’s governance documents. ECF No. 179 (the “Order”).

       C.         CD Homes’s February Production.

       11.        On February 11, 2019, CD Homes produced documents in response to the Amended

Notice (the “February Production”).

       12.        Although the February Production included additional documents, a review of those

documents reveals several deficiencies.

       i.         Improper Redactions.

       13.        First, CD Homes manually redacted much of the information on CD Homes’s bank

records. CD Homes gave no explanation for these redactions, and the Order does not contemplate

any redactions.

       ii.        Incomplete Records.

       14.        Second, CD Homes has failed to produce certain records in full. Most bank statements

include only the first page. CD Homes also produced print-outs of e-mails that indicated the e-mail

had attachments. In certain cases, however, no attachments are included. In other cases, the e-mails

are part of chains but the earlier e-mails are not produced. The Order leaves CD Homes no room to

produce incomplete records.

       iii.       No Electronic Data.

       15.        Third, CD Homes continues to refuse to produce its data, including its accounting

information and its e-mails, in electronic format. CD Homes has maintained that it does not have a

digitized accounting system. Yet the February Production includes summary sheets that appear to be




MOTION TO COMPEL                                                                          Page 3 of 8
       Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 4 of 13



computer generated. Further, CD Homes produced print-outs of relevant e-mails instead of providing

them in native format so that the metadata can be accessed.

        D.      Debtors Conferred with CD Homes.

        16.     The Debtors sent a letter to Dick Fuqua, counsel for CD Homes, identifying

deficiencies with the February production and demanding that these deficiencies be corrected.       A

copy of the letter is attached hereto as Exhibit A. As of the filing of this Motion, CD Homes has

not corrected the deficiencies.

        E.      Debtors’ Attempts to Obtain Information from Robert Parker.

        17.     On January 15, 2019, the Debtors filed their Notice of Rule 2004 Examination of Bob

Parker (the “Parker 2004 Exam”) [ECF No. 207].

        18.     The deposition of Robert Parker under the Parker 2004 Exam commenced on March

20, 2019 and is scheduled to continue on March 26, 2019.

        19.     At the deposition that occurred on March 20, 2019, Robert Parker refused to answer

any questions related to CD Homes, LLC projects that are not the Debtors’ specific projects. CD

Homes, LLC is involved in at least four other projects at this time including 1718 Cherryhurst, 2501

Yupon Street, 1536 Indiana and 1647 Vassar. Mr. Parker refuses to answer any questions related to

these projects or other project that CD Homes was involved in in the past on the basis that CD Homes

has determined that such project do not involve the Debtors. Mr. Parker refuses to answer questions

including identifying the investors in these projects, the terms of the investments in these projects,

and where the funds for the projects came from. The Debtors’ believe that CD Homes has taken

funds that belong to the Debtors and have used them in connection with these projects. Mr. Parker’s

refusal to answer these questions related to these other projects is impairing the Debtors’ ability to

investigate potential causes of action and assets of the Debtors’ estates.




MOTION TO COMPEL                                                                          Page 4 of 8
        Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 5 of 13



                                        RELIEF REQUESTED

        20.      The Debtors seek entry of an order, substantially in the form of the attached hereto,

that orders CD Homes to (i) immediately produce in full all documents responsive to the document

requests in the Amended Notice without redactions2; (ii) require Mr. Parker to file a motion for a

protective order if there is any information he intends not to disclose so the Court can evaluate and

rule on these requests and (iii) pay sanctions to reimburse the Debtors for costs incurring in bringing

this Motion.

                                          BASIS FOR RELIEF

        A.       Bankruptcy Rule 7037.

        21.      Bankruptcy Rule 9014 states that contested matters, like this one, are governed by

Bankruptcy Rule 7037. Rule 7037 incorporates Federal Rule of Civil Procedure 37, which states that:

        [o]n notice to other parties and all affected persons, a party may move for an order
        compelling disclosure or discovery. The motion must include a certification that the
        movant has in good faith conferred or attempted to confer with the person or party
        failing to make disclosure or discovery in an effort to obtain it without court action.

FED. R. CIV. P. 37(a)(1). Rule 37 also specifies that a party seeking discovery may move for an order

compelling production (subsection (a)(3)(B)) and that “an evasive or incomplete . . . response must be

treated as a failure to . . . respond” (subsection (a)(4)).

        22.      With respect to sanctions, Rule 37(a)(5)(A) states that:

         If [a] motion [to compel] is granted—or if the disclosure or requested discovery is
        provided after the motion was filed—the court must, after giving an opportunity to be
        heard, require the party . . . whose conduct necessitated the motion, the party or
        attorney advising that conduct, or both to pay the movant’s reasonable expenses
        incurred in making the motion, including attorney’s fees.




2For the avoidance of doubt, the Debtors are not seeking production based on the requests for which the
Court upheld objections in its Order.


MOTION TO COMPEL                                                                              Page 5 of 8
        Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 6 of 13



The only exceptions to this rule are if (i) the movant fails to confer; (ii) the opposing party’s response

(or lack thereof) was substantially justified; or (iii) other circumstances make awarding expenses

“unjust.” See FED. R. CIV. P. 37(a)(5)(A)(i)‒(iii).

        B.        Debtors Conferred Regarding this Dispute.

        23.       Counsel for the Debtors has complied with Rule 37 in trying to resolve these discovery

issues with CD Homes in good faith without having to involve the court. However, CD Homes has

failed to correct the deficiencies with its production even though it has had over two weeks’ notice of

such deficiencies (which is in addition to the period of two months CD Homes took to produce

documents after entry of the Order).

        24.       At the deposition of Robert Parker, counsel for the Debtors informed Mr. Parker that

the Debtors would seek a ruling from the Court if Mr. Parker refused to answer questions regarding its

projects that CD Homes’ alleges do not involve the Debtors.

        C.        CD Homes Has No Justification for its Discovery Deficiencies.

        25.       CD Homes has no excuse for producing incomplete documents or redacted

documents, or failing to produce documents in electronic format. The Court adjudicated CD Homes’s

two motions to quash over two months ago. CD Homes has had plenty of time to identify and

produce responsive documents.

        26.       Mr. Parker has no basis to refuse to answer questions about CD Homes’s other

projects.     Mr. Parker’s responses to these questions could have a bearing on how this Court may

decide issues in this case. The information that the Debtors’ seek is relevant to its investigation of

potential causes of action.

        D.        Court Should Award Sanctions.

        27.       Assuming that the Court grants this Motion, it should further award the Debtors their

reasonable expenses in bringing this Motion. None of the exceptions in Rule 37(a)(5)(A)(i)‒(iii)


MOTION TO COMPEL                                                                              Page 6 of 8
       Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 7 of 13



applies. The Debtors conferred with CD Homes about this dispute. As discussed above, CD Homes

has no justification for its continued failure to produce documents completely and in the proper

format, especially since its objections to production were adjudicated over two months ago. Further,

no circumstances exists that would make awarding expenses unjust. The Debtors are simply asking

the Court to compel CD Homes to comply with the Court’s earlier Order, which should have settled

any lingering doubts CD Homes had about its discovery obligations.

        WHEREFORE, for the reasons set forth herein, the Debtors respectfully request entry of an

order granting the relief requested and for such other and further relief as is just and proper.

Dated: March 21, 2019                                   Respectfully submitted,

                                                        DIAMOND McCARTHY LLP

                                                        /s/ Charles M. Rubio
                                                        Charles M. Rubio
                                                        TBA No. 24083768
                                                        crubio@diamondmccarthy.com
                                                        Michael D. Fritz
                                                        TBA No. 24083029
                                                        mfritz@diamondmccarthy.com
                                                        909 Fannin, Suite 3700
                                                        Houston, TX 77010
                                                        Telephone: (713) 333-5100
                                                        Facsimile: (713) 333-5199

                                                        Counsel to Debtors and Debtors-In-Possession




MOTION TO COMPEL                                                                               Page 7 of 8
       Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 8 of 13



                             CERTIFICATE OF CONFERENCE

       I certify that on March 4, 2019, I sent a letter to counsel for CD Homes and stated that the
Debtors would file a motion to compel if CD Homes did correct the deficiencies with the February
Production. As of the filing of this Motion, CD Homes has not corrected such deficiencies.

        I certify that on March 20, 2019, I conferred with counsel for CD Homes regarding Mr.
Parker’s refusal to answer questions related to projects that Mr. Parker has determined are unrelated
to the Debtors.

                                                      /s/ Charles M. Rubio
                                                      Charles M. Rubio

                                 CERTIFICATE OF SERVICE

        I certify that on March 21, 2019, I caused a true and correct copy of the foregoing Motion to
be served on counsel for CD Homes, LLC by email.

                                                      /s/ Charles M. Rubio
                                                      Charles M. Rubio




MOTION TO COMPEL                                                                         Page 8 of 8
          Case 18-34658 Document 227 Exhibit   A on 03/21/19 Page 9 of 13
                                     Filed in TXSB



   Two Houston Center | 909 Fannin, 37th Floor | Houston, TX 77010 | Phone: 713.333.5100 | Fax: 713.333.5199       CHARLES M. RUBIO | PARTNER
                                                                                                               crubio@diamondmccarthy.com
                                                                                                                            P. 713.333.5127
                                                                                                                            F. 713.333.5195


                                                          March 4, 2018



Dick Fuqua                                                                                      VIA CERTIFIED MAIL
Fuqua & Associates, PC
5005 Riverway Dr., Suite 250
Houston, TX 77056-2131

          Re: CD Homes Document Production – In re HOUTEX Builders, LLC, Case
          No. 18-34658 (Bankr. S.D. Tex.)

Dear Mr. Fuqua,

        I write to highlight certain deficiencies in CD Homes, LLC’s responses to the document
requests contained in the Amended Notice of Rule 2004 Examination of CD Homes, LLC filed
by HOUTEX Builders, LLC; 2203 Looscan, LLC; and 415 Shadywood, LLC (collectively, the
“Debtors”). I hope that we can reach an informal resolution of these issues and avoid the need to
file a motion to compel.

          Bank Statements Are Incomplete and Contain Improper Redactions.

       In response to request no. 2, CD Homes produced copies of CD Homes’ bank statements.
However, CD Homes manually redacted much of the information on the statements. For
example, CD Homes produced a redacted bank statement for February 2017. In it, CD Homes
redacted information about check no. 7564 in the amount of $3,000.00. The check number and
amount can be verified because CD Homes produced that check elsewhere in the February
Production.

       CD Homes has not explained these redactions, much less why it decided to redact highly
relevant information on one document (presumably on the grounds that it is confidential) but
disclose it in another. Moreover, the Court’s order denying CD Homes’ motion to quash [ECF
No. 179] (the “Order”) does not contemplate any redactions.

       CD Homes’ bank statements are also incomplete because only the first page of many
statements is provided.

        The redactions and incomplete production are contrary to the terms of the Amended
Notice, which state that “[a]ll Documents produced in response to this request shall be produced
en toto notwithstanding the fact that portions thereof may contain information not requested . . .
.” See Amended Notice, Instruction No. 6. CD Homes did not object to this instruction in its
motion to quash. The Court’s Order also does not give CD Homes the option to produce


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      Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 10 of 13
Diamond McCarthy LLP
March 4, 2019
Page 2



incomplete or redacted material. Therefore, the Debtors require that CD Homes produce its
complete bank records without redactions.

       No Electronically-Stored Information Was Produced.

       In response to various requests, CD Homes failed to produce electronic data in native
format. For example, CD Homes produced paper print-outs of e-mails between Robert Parker
and Gary Hmaidan and PENSCO Trust. Similarly, the production contains list of checks or
payments (e.g., the list of CD Homes payments to Robert Parker) that appear to have been
computer-generated. This strongly suggests that the lists—and likely the information contained
in them—exist in electronic format.

       The Amended Notice states that “Electronically stored information (“ESI”) should be
produced in native format unless otherwise agreed between counsel or unless such information
could not be retrieved or accessed with the use of commonly used commercial off-the-shelf
software, in which event counsel is requested to contact the undersigned to discuss the form of
production.” See Instruction No. 5. CD Homes has not provided any explanation for its failure
to produce its ESI or otherwise objected to Instruction no. 5. The Debtors therefore ask that CD
Homes immediately produce any and all ESI responsive to the requests in the Amended Notice.

        Further, in certain cases, e-mails that appear to contain attachments were not produced
with their attachments. This includes e-mails between Robert Parker and Gary Hmaidan. CD
Homes’s failure to produce these documents violates instruction no. 4 of the Amended Notice,
which states that “Documents attached to other Documents or materials shall not be separated
unless sufficient records are kept to permit reconstruction of the grouping.”

       No Privilege Log Was Provided.

       Instruction no. 7 requires CD Homes to provide a privilege log “if any Documents
requested herein are withheld from production on the alleged grounds of privilege or immunity
(whether under common law, statute, or otherwise).” CD Homes did not produce a privilege log.
Please confirm whether CD Homes possesses privileged documents responsive to the requests in
the Amended Notice.

       Clarification Regarding Accounting Records.

        Finally, the Debtors have noted that CD Homes did not produce any balance sheets, asset
lists, profit-and-loss statements, income statements, or similar records reflecting its overall
financial condition. Please confirm that CD Homes does not have any such documentation.

       We need CD Homes to correct the deficiencies in its document production by Monday,
March 11, 2019. The Debtors reserve all of their rights to seek to compel production and for
sanctions.
      Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 11 of 13
Diamond McCarthy LLP
March 4, 2019
Page 3



      If you have any questions or wish to discuss these issues further, please contact me at
713-333-5127 or by e-mail at crubio@diamondmccarthy.com.

                                                  Very truly yours,




                                                  Charles M. Rubio
         Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 12 of 13
                                                  Proposed Order


                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    In re:                                                 §            Case No. 18-34658
                                                           §
    HOU-TEX BUILDERS, LLC, et al., 1                       §            Chapter 11
                                                           §
                      DEBTORS.                             §            Jointly Administered
                                                           §

                  ORDER GRANTING MOTION TO COMPEL CD HOMES LLC’S
                    AND ROBERT PARKER’S RESPONSES TO DISCOVERY
                                 [Relates to ECF No. 145]

             This matter came before this Court on the Motion To Compel CD Homes LLC’s and Robert Parker’s

Responses To Discovery [ECF No. ___] (the “Motion”) filed by Houtex Builders, LLC, 2003 Looscan

Lane, LLC and 415 Shadywood, LLC (the “Debtors”). After consideration of the Motion, any

response thereto, and the record in this case, it is

             ORDERED that the Motion is granted; it is further

             ORDERED that CD Homes shall produce all documents in its possession that are responsive

to the Amended Notice2 (except as to those document requests for which objections were sustained

by the Order) by April ___, 2019; it is further

             ORDERED that CD Homes is not permitted to redact any portion of the production; it is

further

             ORDERED that Robert Parker is required to answer questions related to all of CD Homes’s

projects; and it is further

             ORDERED that CD Homes shall pay the Debtors the amount of $_______, representing

reasonable expenses incurred in making the motion, including attorney’s fees.


1            The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s
             federal tax identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and
             415 Shadywood, LLC (7627).
2            Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.


ORDER GRANTING MOTION TO COMPEL
     Case 18-34658 Document 227 Filed in TXSB on 03/21/19 Page 13 of 13



SIGNED this      day of       , 2019.


                                        UNITED STATES BANKRUPTCY JUDGE




ORDER GRANTING MOTION TO COMPEL                                    Page 2 of 2
